                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION

PRIMERICA LIFE INSURANCE COMPANY,                      )
                                                       )
                               Plaintiff,              )
                                                       )       DEFAULT JUDGMENT IN A
v.                                                     )       CIVIL CASE
                                                       )       CASE NO. 7:21-CV-35-D
WINFIELD SMITH, MICHAEL MARABLE,
SR., and BENJAMIN R. WARRICK,                          )
                                                       )
                               Defendants.             )


Decision by Court. This action came before this Court for ruling as follows.


IT IS ORDERED, ADJUDGED, AND DECREED that default judgment is entered against
Defendant Michale Marable, Sr. and Defendant Winfield Smith.



This Judgment Filed and Entered on December 2, 2021, and Copies To:
Anthony Terrell Lathrop                                        (via CM/ECF electronic notification)
Luther Donald Starling, Jr.                                    (via CM/ECF electronic notification)




DATE:                                                          PETER A. MOORE, JR., CLERK
December 2, 2021                                               (By) /s/ Nicole Sellers
                                                               Deputy Clerk




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